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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

DANIELLE MOWATT,                                        )
                                                        )
               Plaintiff,                               )
                                                        )   Case No. 13-cv-0481
       v.                                               )
                                                        )   Judge Rebecca R. Pallmeyer
ADRENALINE Y2K, INC., et al.                            )
                                                        )   Magistrate Judge Maria Valdez
               Defendants.                              )

                               STIPULATION OF DISMISSAL

       Plaintiff, Danielle Mowatt and Defendant, AdrenalineY2K, Inc., hereby jointly stipulate,

pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), to the dismissal of this action with prejudice, with

each party to bear its own costs and attorneys’ fees.

STIPULATED AND AGREED:

Dated: July 23, 2013



DANIELLE MOWATT                                    ADRENALINEY2K, INC.



By: s/ William M. Sweetnam                         By: s/ Michael T. Sprengnether

William M Sweetnam                                 Michael T. Sprengnether
SWEETNAM LLC                                       DOHERTY & PROGAR LLC
582 Oakwood Avenue, Suite 200                      200 West Adams Street, Suite 2220
Lake Forest, Illinois 60045                        Chicago, Illinois 60606
 (847) 559-9040                                    (312) 630-9630
(847) 919-4399 (fax)                               (312) 630-9001 (fax)
wms@sweetnamllc.com
                                                   Attorneys for AdrenalineY2K, Inc.
Attorneys for Plaintiff Danielle Mowatt
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                                 CERTIFICATE OF SERVICE

       I certify that on July 23, 2013, the foregoing document was served on all parties who are

not in default or their counsel of record through the Court’s CM/ECF system, if they are

registered users or, if they are not, by serving a true and correct copy on them at their U.S. postal

addresses.


                                                       s/ William M. Sweetnam
